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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 15-2507-JLK

KYLE JEFFERY SCHWARK,

        Plaintiff,
v.

SHERIFF FRED WEGENER, in his official and individual capacities;
NURSE SUSAN CANTERBURY, in her individual capacity;
NURSE JERI SWANN, in her individual capacity;
NURSE CATHLENE PEARCE, in her individual capacity;
DOCTOR KATHERINE FITTING, in her individual capacity,

      Defendants.
_____________________________________________________________________________

 UNOPPOSED MOTION TO WITHDRAW JULIAN G.G. WOLFSON AS COUNSEL OF
                                   RECORD
______________________________________________________________________________

        Julian G.G. Wolfson, undersigned counsel for Plaintiff, Adrian Brown, submits this

Unopposed Motion to Withdraw as Counsel of Record, and states:

     1. Undersigned counsel’s employment with KILLMER, LANE & NEWMAN, LLP will end on

        October 14th, 2016.

     2. Plaintiff continues to be represented in this case by David A. Lane of KILLMER, LANE &

        NEWMAN, LLP.

                     CERTIFICATION PURSUANT TO D.C.COLO.LCivR. 7.1

     3. Counsel for Plaintiff, Julian G.G. Wolfson, certifies that he conferred via email on

        October 10th, 2016 with counsel for Defendants, Steve Michalek and Eric Ziporin, who

        stated that they do not oppose the relief requested herein.
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     WHEREFORE, undersigned counsel respectfully requests that he be withdrawn as

  counsel of record for Plaintiff and be removed from the certificate of service in this case.

     DATED this 11th of October, 2016.


                                                    KILLMER, LANE & NEWMAN, LLP

                                                    s/ Julian G. G. Wolfson
                                                    David A. Lane
                                                    Julian G. G. Wolfson
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                                                    Attorneys for Plaintiff




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